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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 CHAMBER OF COMMERCE OF
 THE UNITED STATES OF
 AMERICA; FORT WORTH
 CHAMBER OF COMMERCE;
 LONGVIEW CHAMBER OF
 COMMERCE; AMERICAN
 BANKERS ASSOCIATION;
 CONSUMER BANKERS
 ASSOCIATION; and TEXAS
 ASSOCIATION OF BUSINESS,

      Plaintiffs,

 v.                                                  Case No.: 4:24-cv-213-P

 CONSUMER FINANCIAL PROTECTION
 BUREAU; and ROHIT CHOPRA, in his
 official capacity as Director of the Consumer
 Financial Protection Bureau,

      Defendants.


       DEFENDANTS’ MOTION TO DISSOLVE THE PRELIMINARY INJUNCTION

         Defendants the Consumer Financial Protection Bureau and Rohit Chopra (collectively, the

Bureau) respectfully move to dissolve the preliminary injunction granted in the Court’s May 10

order, ECF No. 82, and to lift the stay of the Bureau’s Late Fee Rule. As the Bureau explains in its

accompanying brief, the Court should dissolve the preliminary injunction because its analysis of

Plaintiffs’ likelihood of success on the merits rested entirely on the Fifth Circuit’s holding in

Community Financial Services Ass’n of America, Ltd. v. CFPB, 51 F.4th 616, 638 (5th Cir. 2022),

which the Supreme Court has since reversed, see CFPB v. Cmty. Fin. Servs. Ass’n of Am., Ltd.,

601 U.S. 416, 435 (2024). That substantial change in the law governing Plaintiffs’ constitutional



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claim requires dissolving the Court’s preliminary injunction. Although Plaintiffs raised several

statutory grounds for relief in their preliminary injunction motion, they have not established a

likelihood of success on any of them. The Court should therefore dissolve the preliminary

injunction and lift the stay of the Bureau’s Late Fee Rule.

DATED: July 8, 2024                                  Respectfully Submitted,

                                                     SETH FROTMAN
                                                     General Counsel

                                                     STEVEN Y. BRESSLER
                                                     Deputy General Counsel

                                                     KRISTIN BATEMAN
                                                     Assistant General Counsel

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                                                     Counsel for Defendants the Consumer
                                                     Financial Protection Bureau and Rohit
                                                     Chopra



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                             CERTIFICATE OF CONFERENCE

       I hereby certify that on July 8, 2024, I communicated by email with counsel for Plaintiffs,

who indicated that Plaintiffs oppose the motion to dissolve the preliminary injunction.

                                                     /s/ Stephanie B. Garlock
                                                     STEPHANIE B. GARLOCK
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                               CERTIFICATE OF SERVICE

       I hereby certify on July 8, 2024, a true and correct copy of this document was served

electronically by the Court’s CM/ECF system to all counsel of record.


                                                    /s/ Stephanie B. Garlock
                                                    STEPHANIE B. GARLOCK
